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 PROB 12C                                                                              Report Date: January 8, 2021
(6/16)

                                       United States District Court
                                                                                                            FILED IN THE
                                                                                                        U.S. DISTRICT COURT
                                                       for the                                    EASTERN DISTRICT OF WASHINGTON



                                        Eastern District of Washington                              Jan 08, 2021
                                                                                                       SEAN F. MCAVOY, CLERK

                    Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Jason Jay Lingo                           Case Number: 0980 2:16CR00072-RMP-1
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Rosanna Malouf Peterson, U.S. District Judge
 Date of Original Sentence: January 4, 2017
 Original Offense:        Receipt of Child Pornography, 18 U.S.C. § 2252A(a)(2)(A)
 Original Sentence:       Prison - 60 Months,                Type of Supervision: Supervised Release
                          TSR - 120 Months
 Asst. U.S. Attorney:     U.S. Attorney’s Office             Date Supervision Commenced: May 11, 2020
 Defense Attorney:        Federal Defender’s Office          Date Supervision Expires: May 10, 2030


                                          PETITIONING THE COURT

                 To issue a SUMMONS.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

             1          Special Condition #3: You shall be prohibited from possessing or manufacturing any
                        material, including videos, magazines, photographs, computer-generated depictions, or any
                        other media that depict sexually explicit conduct involving children or adults, as defined at
                        18 U.S.C. § 2256(2). You shall not enter any establishment involved in the sex industry,
                        including but not limited to adult bookstores, massage parlors and strip clubs. You shall not
                        utilize any sex-related adult telephone numbers. Your supervising officer is authorized to
                        monitor compliance in this area by obtaining relative records including but not limited to
                        telephone, Internet, credit cards and bank statements.

             2          Special Condition #5: You must allow the probation officer to install computer monitoring
                        software on any computer (as defined in 18 U.S.C. § 1030(e)(1)) you use.

                        Supporting Evidence: Mr. Jason Jay Lingo is alleged to have violated special condition
                        numbers 3 and 5 by having in his possession, on or about January 8, 2021, an Internet
                        capable cell phone in which the client, by his own admission, was using in an attempt to both
                        circumvent proper monitoring by the U.S. Probation Office and to view pornographic
                        content.

                        On May 11, 2020, the undersigned officer telephonically reviewed conditions of supervised
                        release relative to 2:16CR00072-RMP-1 with Mr. Lingo. As the Court may recall, a request
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                       for modification was previously drafted and submitted to the Court in this case on February
                       24, 2020, seeking the imposition of two additional conditions in this case. On February 26,
                       2020, additional conditions mandating computer monitoring software and allowing for the
                       undersigned officer to conduct searches of the client’s computing devices to ensure the client
                       was not circumventing the software requirement were graciously imposed by the Court. Mr.
                       Lingo indicated he understood all conditions as ordered by the Court and the conditions were
                       signed electronically by the undersigned officer on his behalf and with his approval given
                       the current COVID-19 pandemic.

                       Specifically, Mr. Lingo was made aware by his U.S. probation officer that he was required
                       to disclose all computer devices maintained or used by the client to the undersigned officer,
                       and that any such devices required monitoring software prior to his using the device, to
                       which Mr. Lingo stated his understanding. Mr. Lingo was further made aware by his U.S.
                       probation officer that he was to refrain from viewing, possessing or manufacturing
                       pornographic material to which he stated his understanding.

                       On January 6, 2021, detailed information from a concerned citizen was received by the
                       undersigned officer, detailing the client’s possession of a second cell phone, previously
                       unknown to the undersigned officer. The information was detailed and knowing to the degree
                       that the undersigned officer immediately drew the conclusion that the client was in fact in
                       possession of a second cell phone, previously unknown to and therefore unmonitored by the
                       U.S. Probation Office.

                       On January 7, 2021, surveillance was conducted at the client’s residence on two separate
                       occasions, although the client was determined to not be at the residence during the periods.
                       At 1:24 p.m., a text message was sent to the client asking about his availability for home
                       contact, although a response was ultimately not received on the day in question. On January
                       8, 2021, the undersigned officer engaged in a text message exchange with the client in which
                       the client indicated he was assisting a friend the previous day and had been out of cell phone
                       range. The client committed to being at his residence on the day in question until
                       approximately 10:30 a.m.

                       On January 8, 2021, at approximately 9:50 a.m., and with the assistance of Supervisory
                       United States Probation Officer Law, home contact was made with the client at his residence
                       located in Spokane. As a part of the home contact, Mr. Lingo was confronted on possessing
                       a second previously unknown cell phone, to which Mr. Lingo initially denied. Mr. Lingo was
                       reminded of the importance of honesty and advised that the undersigned officer was prepared
                       to initiate a search of his residence if necessary; however, the undersigned officer first
                       wanted to give him the opportunity to be forthcoming with the undersigned officer, at which
                       time the client admitted to having a previously undisclosed second cell phone.

                       Specifically, Mr. Lingo detailed that he had actually secured the cell phone approximately
                       4 years ago, but only approximately 1 month ago again began using the device to view
                       pornographic content. Mr. Lingo denied that the device had actual cellular service, but
                       instead stated he used the device to view pornography that he had previously downloaded
                       to the device years ago. Mr. Lingo escorted the undersigned officer to both the location of
                       the device’s charging cable and ultimately the device itself, which the client had hidden and
                       ultimately retrieved from under a white dresser in the basement which the parties appeared
                       to be using for storage. Mr. Lingo denied that the device possessed child pornography and
                       further denied any possession of other previously unreported devices.
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                       Mr. Lingo admitted he had been viewing pornography on the device approximately once a
                       week for the last month, and stated that he felt addicted to viewing the content, further
                       advising he felt that some form of support group may be of benefit to him. As of the writing
                       of this report, the device remains secured at the U.S. Probation Office in Spokane, until the
                       device can be provided to the Federal Bureau of Investigation for further examination.

The U.S. Probation Office respectfully recommends the Court issue a SUMMONS requiring the offender to appear
to answer to the allegation(s) contained in this petition.

                                          I declare under penalty of perjury that the foregoing is true and correct.
                                                            Executed on:     January 8, 2021
                                                                             s/Chris Heinen
                                                                             Chris Heinen
                                                                             U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ;]     The Issuance of a Summons
 [ ]      Other

                                                                             Signature of Judicial Officer

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                                                                             Date
